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APPOINTMENT AFFIDAVITS
Expect | Consultant BlH{as

(Position to which Appointed) (Date Appointew)

Dept.o€ HHS OMe of the Sareency

(Department or Agency) (Bureau or Division) }Place of Employment)

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I, f V1 U4 ) | CASON , do solemnly swear (or affirm) that--
A. OATH OF OFFICE

| will support and defend the Constitution of the United States against all enemies, foreign and domestic;
that | will bear true faith and allegiance to the same; that | take this obligation freely, without any mental
reservation or purpose of evasion; and that | will well and faithfully discharge the duties of the office on which
| am about to enter. So help me God.

B. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT

| am not participating in any strike against the Government of the United States or any agency thereof,
and | will not so participate while an employee of the Government of the United States or any agency
thereof.

C. AFFIDAVIT AS TO THE PURCHASE AND SALE OF OFFICE

| have not, nor has anyone acting in my behalf, given, transferred, promised or paid any consideration
for or in expectation or hope of receiving assistance in securing this appointment.

nN ~~

(Signature of Appointee)

Subscribed and sworn (or affirmed) before me is Ht day of Ma Vi at 7

(SEAL) ve
Commission expires Guyer uisore pe Spcial of
(If by a Notary Public, the date of his/her Commission should be shown) (T ite)

Note - If the appointee objects to the form of the oath on religious grounds, certain modifications may be permitted pursuant to the
Religious Freedom Restoration Act. Please contact your agency's legal counsel for advice.

Standard Form 61
U.S. Office of Personnel Management Revised August 2002
The Guide to Processing Personnel Actions NSN 7540-00-634-4015 Previous editions not usable
